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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                  CRIMINAL ACTION NO. 14-10363-RGS

                      UNITED STATES OF AMERICA

                                     v.

                              GLENN CHIN

                      MEMORANDUM AND ORDER
                     ON FORFEITURE OF PROPERTY

                            February 23, 2018

STEARNS, D.J.

      Following Glenn Chin’s conviction for mail-fraud racketeering,

conspiracy, mail fraud, and violations of the federal Food, Drug, and

Cosmetic Act (FDCA), the government sought the forfeiture of the entire

$611,774 that Chin was paid in salary as a pharmacist at New England

Compounding Center (NECC) between 2006 and October 2012, when NECC

ceased doing business. See Dkt #1391 (Motion for Order of Forfeiture). Chin

filed an opposition, see Dkt #1423, and the court heard oral argument on

February 15, 2018.1 For the reasons to be stated, the government’s motion

will be allowed in part.


      1 In that same hearing, the court heard argument on the government’s
Motion for an Order of Restitution. See Dkt # 1400. The question of
restitution will be the subject of a separate Order.
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      The government is correct that a forfeiture in this case is virtually

mandated by 18 U.S.C. § 1963. See Alexander v. United States, 509 U.S. 544,

562 (1993) (noting that “a RICO conviction subjects the violator not only to

traditional, though stringent, criminal fines and prison terms, but also

mandatory forfeiture under § 1963.”). The court also agrees that Chin’s

salary, paid for his work as NECC’s Supervisory Pharmacist during the

period of time in which NECC was operating as a criminal enterprise, is

forfeitable. See United States v. DeFries, 129 F.3d 1293, 1313 (D.C. Cir. 1997)

(holding that salaries received by former union officials after their tampering

with union elections were subject to forfeiture because “but for the elections,

which the district court found to be tainted by appellants’ racketeering

activity, they would not have received their salaries.”). Here, but for Chin’s

participation in conduct “tainted by . . . racketeering activity,” he would not

have earned the salary that he did from NECC. See United States v. Angiulo,

897 F.2d 1169, 1213 (1st Cir. 1990) (endorsing the “but for” test).

      Where the court parts company with the government is over the

proposition that NECC operated as a criminal enterprise from its inception,

thus exposing the entirety of Chin’s earnings from 2006 through 2012 (the

statute of limitations period) to forfeiture. As I observed at Chin’s sentencing

(and at the sentencing of codefendant Barry Cadden), the weight of the


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evidence, as corroborated by an analysis of the jury’s verdict, is that NECC

originated as a legitimate business, but under mounting pressure to

maximize profits, degenerated into a criminal enterprise in March of 2010,

and operated as such until its collapse in October of 2012. 2 Consequently,

only the salary that Chin received during that period of time falls within the

precincts of forfeitable gains.

      According to the government’s calculations, as corroborated by Chin’s

tax returns, the total of Chin’s potential salary exposure can be calculated as

follows. Chin earned $171,837 at NECC in 2011, and $163,805 during the

ten months in 2012 during which NECC remained viable. Chin was paid

$165,531 by NECC in 2010 (at a monthly salary of $13,794.25). Prorating

2010 over ten months from March to December yields $137,942.50.

Combining the three figures ($137,942.50 + $171,837 + $163,805) yields a

total of $ 473,584.50.

      Chin advances three arguments in support of a lesser amount. The

first, and most radical, is the contention that he should only forfeit the


      2 As I noted in a separate order, see Dkt # 1433, correcting a dating
miscue on my part at Chin’s sentencing hearing, “[a] RICO enterprise is
defined by a minimum of two related predicate acts occurring within ten
years of one another. Here, in Chin’s case, as in the Cadden trial, the earliest
predicate act found by the jury is the fraudulent mailing of March 25, 2010
(Predicate Act 69). All parties agree that the enterprise [thereafter] endured
until the shuttering of NECC in October of 2012.”
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portion of his salary associated with the specific shipments of drugs the jury

found to have been part of the mail fraud scheme. See Chin Opp’n, Dkt #1423

at 5 (arguing that “a reasonable method” of calculating forfeiture would be

“to determine what percentage of NECC’s gross revenues” during the

racketeering period “was comprised of products that were tainted by the

fraud proved at trial, and find the forfeiture amount to be the corresponding

percentage of Mr. Chin’s compensation for that period.”).

     There are legal, as well as conceptual difficulties, with this argument.

As the government points out, 18 U.S.C. § 1963(a)(3) provides for the

forfeiture of “any property constituting, or derived from, any proceeds which

the person obtained, directly or indirectly, from racketeering activity.” In

Chin’s case, the entire salary he earned at NECC during the relevant time

period constitutes “proceeds . . . obtained, directly or indirectly” from his

participation in the racketeering enterprise. Moreover, as a practical matter,

there is no realistic means of calculating the actual value added by Chin to

any specific batch of drugs shipped by NECC.

     Chin’s second argument is that his gross salary is an improper starting

point for any calculation of a forfeitable amount because it includes

payments for federal and state taxes, as well as other benefits, that were

deducted from his paycheck. The government counters (accurately) that


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First Circuit precedent generally holds that forfeitable proceeds in a RICO

context are to be measured in gross, rather than net, terms. See, e.g., United

States v. Hurley, 63 F.3d 1, 21 (1st Cir. 1995) (rejecting defendant’s argument

that “proceeds” means “net proceeds” or “net profits” under § 1963 (a)(3)).

This precedent is consistent with Congress’s intention that RICO’s forfeiture

provisions be “broadly interpreted.” Id.

      The “gross proceeds” approach is further supported by the obvious

difficulty involved in calculating “business expenses” in the mine run of

RICO cases, in which the enterprise is constituted from the outset as an

illegal entity for which, deliberately, no accurate records are kept in order to

conceal the underlying activity from law enforcement. NECC, however, is an

exception. The company was not initially constituted as an illegal enterprise,

and it kept detailed and accurate records during its corporate existence.

Consequently, it is no difficult matter to segregate the portion of Chin’s salary

that was deducted for federal and state taxes, health benefits and retirement

accounts. Not surprisingly, there is support in circuit case law for using a net

approach where the relevant figures are readily ascertainable. See United

States v. Genova, 333 F.3d 750, 761 (7th Cir. 2003).

      A recent Supreme Court recent ruling, Honeycutt v. United States, 137

S. Ct. 1626 (2017), offers important guidance. Honeycutt stands for the


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proposition that a RICO forfeiture is to be “limited to property the defendant

himself actually acquired as the result of the crime.” Id. at 1635. As the

government points out, Honeycutt makes clear that property “received” can

include benefits obtained “indirectly” from a RICO enterprise. See Gov’t’s

Reply, Dkt # 1432 at 5 (“For example, if a criminal participated in a fraud

scheme and the victim paid the criminal’s mortgage or car loan for him, the

value of that payment would be ill-gotten gains that the criminal obtained

indirectly.”). Consistent with this reasoning, the portions of Chin’s salary

that were deducted to cover health care benefit payments and retirement

account contributions constitute property “obtained” indirectly by Chin

because he was their ultimate beneficiary.

      The money deducted from Chin’s salary as federal income tax

payments do not, however, fit within this analysis. The counter-argument,

made by government counsel at the forfeiture hearing, that the federal tax

deductions were paid for Chin’s “benefit” (presumably because in a larger

sense he and his family were recipients of government services), is not one

that most taxpayers, however zealous in their filings, would find compelling.

While there may be a flush of civic pride in paying taxes, it is difficult to see

how money paid into the U.S. Treasury can be characterized as proceeds

“obtained” by a defendant. There is also a double counting issue arising from


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the fact that forfeited proceeds escheat to the Treasury, meaning that Chin is

being asked, in effect, to pay his taxes twice.3 These two considerations lead

me to conclude that Chin’s federal income tax payments should be deducted

from the forfeiture figure. 4

      According to Chin’s tax returns, his tax bracket varied between 25%

and 28% during the tax years in question. The court will use the mean of

26.5% as an appropriate estimate for Chin’s effective tax rate during this

period. This results in an adjusted, post-federal tax figure of $473,584.50

minus $125,499.905, or $348,084.60.

      Chin’s third argument is constitutional.         He contends that the

forfeiture of his entire earnings during the relevant period would violate the


      3 I take the government at its word that the Department of Justice, to
the extent that it has the authority to do so, intends to pay over any forfeiture
proceeds to patients and families who suffered from the contaminated drugs
(essentially converting the forfeiture into a restitution payment). While
commendable, this does not address the double counting issue as all
Treasury monies are fungible.

      4This is not, however, the case with respect to state and local taxes, as
the governmental entities involved are not asserting an interest in this case,
and will not receive any of the forfeited funds.

      5   The specific calculations are as follows:

      $137,942.50 (2010 salary, March-Dec) x .265 = $36,554.76
      $171,837 (2011 salary) x .265 = $45,536.81
      $163,805 (2012 salary, until Oct. 31) x .265 = $43,408.33
      Total: $125,499.90
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Excessive Fines Clause of the Eighth Amendment.6 “The touchstone of the

constitutional inquiry under the Excessive Fines Clause is the principle of

proportionality: The amount of the forfeiture must bear some relationship

to the gravity of the offense that it is designed to punish.” United States v.

Bajakajian, 524 U.S. 321, 334 (1998). In evaluating whether a financial

penalty is so oppressive as to violate the Eighth Amendment, courts begin by

applying a three-factor test: “(1) whether the defendant falls into the class of

persons at whom the criminal statute was principally directed; (2) other

penalties authorized by the legislature (or the Sentencing Commission); and

(3) the harm caused by the defendant.” United States v. Heldeman, 402 F.3d

220, 223 (1st Cir. 2005).

      The three-factor test weighs heavily in favor of the government. With

respect to the first factor, Chin argues that he is “far from fitting the

archetypal profile of an organized crime figure or a calculating predator who

chooses to enter into a conspiracy for the very purpose of perpetuating fraud,

who are the classes of persons at whom the [RICO and RICO forfeiture]

statutes were principally directed.” Chin Opp’n, Dkt #1423 at 10. While in

the popular imagination, RICO conjures up images of mobsters engaged in


      6“Excessive bail shall not be required, nor excessive fines imposed, nor
cruel and unusual punishments inflicted.” U.S. Const. amend. VIII.

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loansharking, extortion, and illegal gambling, Congress intended “that RICO

(although a criminal statute) be broadly interpreted.” Hurley, 63 F.3d at 21.

The best evidence of this is the inclusion of mail fraud, which is hardly one

of the usual tools of the gangster trade, as one of the predicate acts on which

a RICO enterprise can be based.

      As for the second factor, Chin cites the Probation Office’s Presentence

Report (PSR) and its recommendation of a “fine range” of $20,000 to

$200,000. See PSR ¶ 167. Because that recommended range is significantly

lower than the forfeiture amount that the government seeks, Chin argues

that the proposed forfeiture is “out of line” with the financial penalty

endorsed by the U.S. Sentencing Commission. While this argument has

some value in considering whether a hardship reduction in the forfeiture

amount is appropriate, for purposes of the second Heldeman factor, it is not

persuasive. The statutorily authorized maximum fine is $250,000 on each

of the 41 mail fraud counts alone for which Chin was convicted. In other

words, Congress has authorized a total fine far in excess of what the

government is seeking through forfeiture.7


      7 The government reads Chin’s argument as suggesting that the
forfeiture should be keyed to the loss amount calculated by the court at
sentencing pursuant to USSG § 2B1.1. The government points out that the
court rejected a similar argument in the Cadden proceedings, because the
argument “confuses loss for purposes of the sentencing guidelines, which
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     Finally, Chin argues that, because the court has found that the

“victims” of NECC for loss calculation purposes under the Sentencing

Guidelines were the clinics and hospitals that relied on fraudulent

representations in purchasing NECC’s drugs, the “harm” caused by Chin’s

conduct should be evaluated by the same measure. I am not persuaded.

While the hospitals and clinics were the immediate victims of the mail fraud,

the harm caused by the fraudulent scheme impacted the thousands of

patients who were injected with the contaminated drugs (or feared as much),

as well as their families and loved ones. Evidence introduced at trial,

including internal NECC emails, brought home the certainty that Chin and

other of the co-conspirators were fully aware of the risks involved in the

distribution of defective drugs. In sum, the Heldeman factors militate in

favor of the government.

     Nonetheless, as the First Circuit has made clear, “the three-part test for

gross disproportionality described in Heldeman . . . is not the end of the

inquiry under the Excessive Fines Clause.” United States v. Levesque, 546

F.3d 78, 83 (1st Cir. 2008). In addition to the proportionality test, “a court



focuses on loss to victims, with criminal forfeiture, which is aimed at a
defendant’s ill-begotten gains from criminal activity.” See United States v.
Barry Cadden, 14-cr-10363-1-RGS, Mem. and Order on Forfeiture of
Property, Dkt #1216 at 5 n.8 (Sept. 27, 2017). That is true here as well.

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should also consider whether forfeiture would deprive the defendant of his

or her livelihood.” Id. The source of this concern derives from the singular

and ancient history of the Eighth Amendment. Id.; see also United States v.

Jose, 499 F.3d 105, 113 (1st Cir. 2007).

      The text of the Excessive Fines Clause was taken, almost verbatim,

from the Virginia Declaration of Rights of 1776. 8 That text, in turn, had been

copied from the English Bill of Rights promulgated in 1689 during the

Glorious Revolution. Many of the drafters of the English Bill of Rights had

themselves been victims of arbitrary and excessive punishment during the

reign of the dethroned James II, with some having had “to remain in prison

because they could not pay the huge monetary penalties that had been

assessed.” Browning-Ferris Industries of Vermont, Inc. v. Kelco Disposal,

Inc., 492 U.S. 257, 267 (1989).

      Among the complaints leveled by the Revolutionaries against the

King’s Bench was that it had “subvert[ed] the requirement, under Magna




      8Earlier efforts in the colonies to codify individual rights and liberties
and to establish roadmaps for governance had also included a prohibition on
excessive fines.     For instance, the 1682 Frame of Government of
Pennsylvania provided “[t]hat all fines shall be moderate, and saving men’s
contenements, merchandise, or wainage.” See Frame of Government of
Pennsylvania, May 5, 1682, available from The Avalon Project, Yale Law
School, http://avalon.law.yale.edu/17th_century/pa04.asp

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[Carta], that ‘amercements (the medieval predecessors of fines) should be

proportioned to the offense and that they should not deprive a wrongdoer of

his livelihood.’” Levesque, 546 F.3d at 84 (quoting Bajakajian, 524 U.S. at

335).9 Chapter 14 of Magna Carta had provided that:

      A Freeman shall not be amerced for a small Fault, but after the
      Manner of the Fault. And for a great Fault, after the Greatness
      thereof, saving to him his Contenement. (2.) And a Merchant
      likewise, saving to him his Merchandize. (3.) And any others
      Villain than ours shall be likewise amerced, saving his Wainage,
      if he fall into our Mercy.

      A man’s contenement was “Freehold land held by a feudal tenant,” in

particular “land used to support the tenant.” Black’s Law Dictionary (10th

ed.); see also Calvin R. Massey, The Excessive Fines Clause and Punitive

Damages: Some Lessons from History, 40 VAND. L. REV. 1233, 1260 n.154

(1987) (citing historical sources defining Contenement as “that which is

necessary for his support, according to his Condition or State of Life; so that

tho’ he might be amerced, yet something must be left for his Support.”). The

wainage, or wainagium, generally referred to the “instruments of


      9During the time that followed the Norman Conquest, a new system
emerged whereby “individuals who had engaged in conduct offensive to the
Crown placed themselves ‘in the king’s mercy’ so as not to have to satisfy all
the monetary claims against them,” and “[i]n order to receive clemency,
these individuals were required to pay an ‘amercement’ to the crown, its
representative, or a feudal lord.” Browning-Ferris, 492 U.S. at 287-88
(O’Connor, J., concurring in part and dissenting in part).

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husbandry,” or “the plow, team, and other implements used by a person to

cultivate the soil,” Black’s Law Dictionary (10th ed.), the feudal analog to

what we might refer to today as a person’s livelihood. 10 These safeguards

were a significant improvement on more ancient notions of punishment that

provided for directly proportional retaliation against the accused depending

on the severity of the crime. See Leviticus 24:19-20 (King James Version)

(“And if a man cause a blemish in his neighbour; as he hath done, so shall it

be done to him; Breach for breach, eye for eye, tooth for tooth: as he hath

caused a blemish in a man, so shall it be done to him again.”)

      As the Supreme Court has noted, “[a]lthough the Framers may have

intended the Eighth Amendment to go beyond the scope of its English

counterpart, their use of the language of the English Bill of Rights is

convincing proof that they intended to provide at least the same protection

— including the right to be free from excessive punishments.” Solem v.

Helm, 463 U.S. 277, 286 (1983). The Eighth Amendment thus incorporated


      10 Lord Coke described the origins of the wainagium as deriving from
the Saxon word “wagna,” which was a cart or wagon used by an indentured
servant to carry manure from the lord’s manor to his fields. See 2 E. Coke,
The Institutes of the Laws of England *28 (noting that in rendering his
service to the lord, the villain used a cart (or wain) to carry the dung “out of
the seite of the manor unto the great lord’s land, and casting it upon the
same, and the like; and it was great reason to save his wainage, for otherwise
the miserable creature was to carry it on his back.”).

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into American domestic law the English common-law principle that

amercements or fines are not to be livelihood-shattering. 11

      Against this background, Chin argues that a forfeiture order “of any

substantial sum” will deprive him of his future ability to earn a living,

“especially if ‘earning a living’ is interpreted to mean contributing in a

meaningful way to the support of his two children who will still be minors

wholly dependent on their parents for financial support when Mr. Chin is

released from prison.” Chin Opp’n, Dkt #1423 at 13. Having surrendered his

pharmacy license in the fall of 2012, and with no prospect of it ever being

reinstated, Chin argues that he has “no reasonable expectation that he will

ever again earn a professional-level income.” Id. In addition to his young

children, Chin notes that his wife, Kathy Chin, who is scheduled to go on trial

for her alleged role in the NECC conspiracy later this year, has no realistic


      11 Magna Carta also established a mechanism for challenging an
amercement as excessive, in the form of a writ of de moderata misericordia
capienda (“for taking a moderate amercement”), which “order[ed] a bailiff
to take a moderate penalty from a party had been excessively penalized in a
court not of record.” Black’s Law Dictionary (10th ed.) Early English practice
under the writ confirms that proportionality of the monetary penalty to the
crime committed and the question of whether the amerced party’s livelihood
would be destroyed were analytically distinct questions (as the First Circuit
recognized in Levesque). See Massey at 1259-60 (“If the amercement was
not tainted by such disproportionality, but was still so large so as to infringe
upon a person’s means of earning a living or maintaining himself and his
family, misericordia would still lie.”).

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means of making up his contribution to his family’s finances. Chin also

points to the fact that the government is seeking $82 million in restitution,

suggesting that the court take that into account in determining the

appropriate forfeiture amount. 12 Finally, Chin contends that “he has no

substantial assets with which to satisfy any forfeiture order, and no

reasonable prospect of accumulating any such assets.” Id.

      As the First Circuit observed in Levesque, a present inability to pay is

not dispositive on the question of whether a forfeiture is unconstitutional:

      Although we do not define the contours of this inquiry, we note
      that a defendant’s inability to satisfy a forfeiture at the time of
      conviction, in and of itself, is not at all sufficient to render a
      forfeiture unconstitutional, nor is it even the correct inquiry.
      Indeed, the purpose of imposing a forfeiture as a money
      judgment is to “permit[] the government to collect on the
      forfeiture order in the same way that a successful plaintiff
      collects a money judgment from a civil defendant. Thus, even if
      the defendant does not have sufficient funds to cover the
      forfeiture at the time of the conviction, the government may seize
      future assets to satisfy the order.




      12 But see United States v. Mei Juan Zhang, 789 F.3d 214, 218 (1st Cir.
2015) (joining a unanimous holding among the federal circuit courts that
restitution and forfeiture are not impermissible double penalties and that a
district court is “without authority to offset the restitution . . . owed by the
amount seized [in forfeiture].”). As in the Cadden case, I read the relevant
precedents and the respective histories of both the RICO forfeiture statute
and the Mandatory Victim Restitution Act (MVRA), 18 U.S.C. § 3663A(a)(1),
as requiring that a court evaluate forfeiture and restitution separately.
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546 F.3d at 85 (internal citation omitted). At oral argument, the government

doubled down on this dicta, noting that Chin could come into funds later, or

could possibly “win the lottery.” However, while accepting the principle that

current inability to pay vel non (leaving aside the random chances of a win

in a mega-lottery 13) should not dictate the constitutionality of a forfeiture

order under the Eighth Amendment, it does not lose all relevance in Chin’s

case. The court is sensitive to the fact that Chin has no educational or

vocational training outside of the pharmacy trade (which is now foreclosed

to him) and that his two young children will bear a substantial part of the

burden imposed by his imprisonment and impoverishment. 14

      The government makes a salient point in rebuttal, noting that the

Chins (the defendant and his wife) have spent a significant sum of money

(nearly $700,000) over the past sixteen months, including the purchase of a

new motor vehicle, paying off their mortgage, investing in businesses that




       Cf. People v. St. Martin, 1 Cal.3d 524, 533 (1970) (“Our courts are
      13

not gambling halls but forums for the discovery of truth.”).

      14  This observation is not meant in any sense to detract from the far
more weighty burden imposed on the victims of NECC’s malfeasances. The
court also fully understands that it is unlikely that many, if any, of these
victims will have any sympathy for Mr. Chin’s circumstances. The court,
however, is bound to treat Mr. Chin according to the law and with the
recognition that, however careless his acts, he would never have deliberately
set out to inflict the harms to which they so tragically contributed.
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Kathy Chin has launched to generate a source of income for the family, and

on gym memberships, piano classes for the children, travel, groceries,

clothing, Florida time shares, and support for extended family members in

China. While the inference is that the Chins were engaged in a deliberate

effort to spend down their assets (over and above payments for family

necessities) to avoid paying a fine or forfeiture, the court notes that they there

were under no legal obligation to preserve their assets to satisfy a future

judgment. More troubling is the suggestion, now being examined by the

Magistrate Judge, that Mr. Chin may have misrepresented his net worth to

avoid contributing to the payment for the services of the lawyers appointed

by the court to represent him.

      Balancing this latter concern against the Eighth Amendment

command that that any forfeiture not destroy the future ability of a defendant

to earn a living in support of his family, the constitutional imperative

necessarily takes precedence. 15 On balance, taking into account Chin’s

current financial situation 16, his bleak prospects of ever earning a


      15 It is worth noting that a forfeiture judgment is not, as a rule,
dischargeable in bankruptcy, but will follow Chin after he is released from
prison.

      16 As best I can determine from the verified statement filed by Chin with

the court, he and his wife have a current net worth of approximately
$423,000 with monthly expenses of roughly $12,000.
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professional-level income again, and his family support obligations, the

court believes that a forfeiture of $175,000, a sum towards the upper end of

the Sentencing Guidelines fine range, is sufficiently punitive, while stopping

short of depriving Chin and his family of “that which is necessary for his

support, according to his Condition or State of Life.”17

                                   ORDER

      For the foregoing reasons, the court ORDERS Glenn Chin to forfeit

assets in the amount $175,000. The government is directed to file, within 10

days of this order, a revised proposed order of forfeiture consistent with this

decision.

                                    SO ORDERED.

                                    /s/ Richard G. Stearns
                                    __________________________
                                    UNITED STATES DISTRICT JUDGE




      17The court would have been inclined to impose a lesser sum, but for
the efforts made by Mr. Chin to rearrange his assets as he faced trial. In this
regard, the court notes that some of the acquisitions (the car, home equity,
and the time shares, as examples), continue to form part of the family’s net
worth.
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